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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


   SHANNON PHILLIPS,
                                                         CIVIL ACTION NO.: 2:19-cv-19432
                                  Plaintiff,
                            v.
                                                           Hon. Joel H. Slomsky, U.S.D.J.
   STARBUCKS CORPORATION
   d/b/a STARBUCKS COFFEE
   COMPANY

                                 Defendant.


          PLAINTIFF’S MOTION FOR SANCTIONS AGAINST DEFENDANT
         AND RENEWED MOTION IN LIMINE TO PRECLUDE DEFENDANT
      FROM INTRODUCING THE 46-SECOND ARREST VIDEO [TR-005] AT TRIAL

         Pursuant to Fed. R. Civ. P. 37(c)(1)(B), Plaintiff, Shannon Phillips, by and through her

  undersigned counsel, hereby moves this Court for an Order that the jury will be charged with a

  permissive adverse inference instruction as follows:

         On the Friday evening before trial began, after the Court had closed for the day,
         Starbucks produced for the first time certain surveillance footage from its 18th and
         Spruce store from April 12, 2018, the day of the arrests. It is undisputed that
         Plaintiff requested this footage at the beginning of the case in 2020, but it was not
         produced until June 2, 2023. The surveillance footage is not time-stamped and was
         not produced in a continuous feed; rather, it was spliced into 24 separate clips.

         You have the right to conclude that Starbucks withheld the April 12th surveillance
         footage until one business day before trial and took steps to edit the surveillance
         footage from its true form because Starbucks believed that this evidence would be
         helpful to Ms. Phillips’ case and detrimental to Starbucks’ case.

         The reason for this rule is that where you would normally expect a party to produce
         evidence but, without reasonable explanation, it fails to do so, it leaves a natural
         inference that the non-producing party fears exposure of facts which would be
         unfavorable to it.


         In support thereof, Plaintiff submits the following:



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          1.      On April 6, 2020 – more than three years ago – Plaintiff served Defendant with

  document requests seeking, inter alia, “[a]ny and all documents relating to the arrests of two men

  in or about April 2018 at Defendant’s retail location at 18th and Spruce Street, Philadelphia, PA.”

  See Defendant’s Response to Document Request No. 14 (attached hereto as Exhibit A).

          2.      Plaintiff’s document requests defined “documents” as including recorded materials.

  Id.

          3.      Defendant objected to Document Request No. 14 on relevance, proportionality,

  privacy, and privilege grounds and asserted that it was “harassing and designed to needlessly

  increase the cost of this litigation.” Id.

          4.      Defendant refused to produce documents in response to Document Request No. 14.

  Id.

          5.      During this litigation, Defendant and defense witnesses repeatedly asserted that the

  two men were only in the store for two or three minutes prior to the Store Manager calling the

  police. For example, and without limitation:

               a. During her deposition, Camille Hymes testified under oath that she had personally

                  reviewed the videotape of the arrests and “noticed that the two men that were in the

                  store were in the store for less than two minutes” before the Store Manager called

                  the police. See Hymes Tr. 107:15-19; 147:4-6.

               b. In support of its Motion for Summary Judgment, Defendant presented the following

                  as an undisputed and material fact: “The Black customers were not even in the

                  store for more than three minutes when Ms. Hylton called the police, having them

                  arrested.” See Statement of Undisputed Material Facts in Support of Defendant’s

                  Motion for Summary Judgment [Dkt. Ent. 68-1] ¶ 11.



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                c. Defendant’s Pretrial Memorandum included the following proposed stipulation:

                   “The Black customers were not even in the store for more than three minutes when

                   Ms. Hylton called the police, who arrested them.” See Defendant’s Proposed

                   Stipulations [Dkt. Ent. 116-1] ¶ 12.

          6.       Despite asserting during discovery that documents related to the April 2018 arrests

  were not “relevant”, on April 24, 2023, Defendant produced to Plaintiff for the first time a 46-

  second video clip of the arrests retrieved from the internet and indicated that it intended to use

  same as a trial exhibit.

          7.       Notably, the 46-second arrest video does not depict a single Starbucks employee.

          8.       The 46-second arrest video was responsive to several of Plaintiff’s document

  requests, including, without limitation, a request for “[a]ll documents that Defendant intends to

  use at trial” (Document Request No. 26) and Document Request No. 14.

          9.       Plaintiff filed a Motion in Limine seeking to preclude Defendant from introducing

  the 46-second arrest clip as an exhibit at trial on multiple grounds, including (1) Defendant could

  not properly authenticate the video because no witness to the arrests nor the individual who filmed

  the video was a trial witness, and (2) Defendant’s use of the video violated the Rule of

  Completeness because Defendant deprived Plaintiff of surveillance footage of the arrests which

  would depict the entire event, not just the cherry-picked 46-seconds appearing in the clip. [Dkt.

  Ent. 120].

          10.      On June 2, 2023, the Court denied Plaintiff’s Motion in Limine to preclude without

  prejudice. [Dkt. Ent. 131].

          11.      At 5:17 p.m. that same day – the Friday evening before trial began and after the

  Court had closed for the day – Defendant produced, for the first time, twenty-four (24) clips of



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  surveillance footage depicting the 18th and Spruce store on April 12, 2018 from six (6) vantage

  points within the store.

         12.     The surveillance videos are not continuous feeds; rather, they consist of four (4)

  separate videos from each of the six (6) vantage points:




         13.     The surveillance video clips vary in length, some as short as 25 seconds and the

  longest one being 16 minutes and 36 seconds.




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          14.       The surveillance videos clips do not contain date or timestamps. It is impossible

  to know from the video who is doing what when.

          15.       More troubling, the surveillance videos appear to have been edited and spliced in

  certain places.

          16.       By way of illustration, four seconds into one of the video clips, there are two men

  sitting at a table in the center of the frame and there is a table off to the left side covered in straws:




          17.       Five seconds into the same video clip – i.e., one second later– the two men are no

  longer sitting at the table in the middle of the frame and the straws have been cleaned off the table

  on the left side, yet there is no video of the men leaving or the straws being cleared in this clip:




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         18.     It is impossible for what is depicted in the video above to happen – i.e., men and

  straws instantly disappearing.

         19.     It is not possible to know how long the men were in the store before 911 was called

  from the video clips produced.

         20.     Irregularities like those depicted in the foregoing paragraphs are pervasive

  throughout the twenty-four (24) surveillance video clips produced by Defendant.

         21.     After receiving the surveillance videos from Defendant on June 2nd, Plaintiff’s

  counsel asked Defendant to provide the full, continuous video with timestamps and asked

  Defendant to identify the custodian of the surveillance videos. See June 2-3 email exchange

  (attached hereto as Exhibit B).


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         22.     In response, Defendant’s counsel stated: “[t]his is the only version of the video that

  has been provided by our client contact.” Id.

         23.     On June 3rd, Plaintiff’s counsel sent a follow-up email stating: “Please provide an

  answer to my question below regarding who the custodian is for the 24 clips Defendant sent to us

  on Friday night, June 2nd at 5:17pm. Also, please provide an index for these 24 video clips, setting

  for what each clip purports to show and the time range of the clip (date and times) and how that

  was determined.” Id.

         24.     In response, Defendant’s counsel stated: “Robin Richards, Starbucks’ paralegal,

  provided us the videos she obtained directly from Starbucks’ security department. We have not

  spoken to the personnel for the security department that provided the videos. Once we do, we will

  pass along that information.” Id.

         25.     As of today – the day before trial – Defendant still has not provided Plaintiff with

  the name of the custodian of the surveillance videos, a date and time-stamped copy of the videos,

  or a continuous video recording.

         26.     As of today – the day before trial – Defendant has not provided Plaintiff with

  metadata for the surveillance videos which could enable her to determine when and my who the

  surveillance footage was edited.

         27.     The jury should hear about Defendant’s attempts to conceal the surveillance footage

  and producing same to Plaintiff after the close of business on the last business day before trial.

  Fed. R. Civ. P. 37(c)(1)(B) provides: “[i]f a party fails to provide information or identify a witness

  as required by Rule 26(a) or (e), the party is not allowed to use that information or witness to

  supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified

  or is harmless. In addition to or instead of this sanction, the court, on motion and after giving



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  an opportunity to be heard … may inform the jury of the party’s failure.” (emphasis added). This

  provision exists as an alternative to the automatic sanction precluding a party from using

  information it withheld without substantial justification, and its inclusion is manifest: “[b]locking

  the use of information is, of course, no sanction when the withheld information is unfavorable to

  the party that failed to disclose it.” Fast v. GoDaddy.com LLC, 340 F.R.D. 326 (D. Ariz. 2022).

         28.     The jury should also be permitted to receive information about Defendant’s

  misrepresentations to this Court regarding the length of time that the two men were in the store

  prior to the Store Manager calling the police. See Wachtel v. Health Net, Inc., 239 F.R.D. 81, 84

  (D.N.J. 2006) (sanctioning party who engaged in “unabated discovery abuses and lack of candor”

  under Fed. R. Civ. P. 37, noting that refraining from doing so would be “unfair to the parties who

  conduct themselves according to the rules.”).

         29.     The jury should be permitted to infer that Defendant withheld surveillance footage

  of the April 12, 2018 arrests because it knew that this evidence would reveal its self-serving

  narrative of the men only being in the store for “two” or “three” minutes prior to the Store Manager

  calling the police to be false, thereby harming its defense: “When the contents of a document are

  relevant to an issue in a case, the trier of fact generally may receive the fact of the document's

  nonproduction or destruction as evidence that the party that has prevented production did so out

  of the well-founded fear that the contents would harm him.” Brewer v. Quaker State Oil Refining

  Corp., 72 F.3d 326, 334 (3d Cir. 1995).

         30.     The jury should be informed that they are permitted to consider the fact that

  Defendant withheld the surveillance footage in full for more than three years and subsequently

  produced heavily edited surveillance footage intended to make it appear that the events depicted

  on the videos occurred over a shorter period of time to align with its false narrative surrounding



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  the arrests when awarding punitive damages. See Schatzman v. Martin Newark Dealership, Inc.,

  158 F. Supp. 2d 392 (D. Del. 2001) (finding that an employer’s intentional withholding of

  documents was a relevant consideration for the jury on the issue of punitive damages).

         31.       Defendant’s bad faith is self-evident. Pursuant to Fed. R. Civ. P. 37(c)(1)(B) and

  this Court’s inherent power to fashion and impose sanctions it deems appropriate, the jury should

  be charged with a permissive adverse inference instruction permitting them to infer that Defendant

  withheld the surveillance footage because it knew that it would be harmful to their defense. “Any

  lesser sanction would, in effect, reward [Defendants] for the gamble [they] took by [withholding]

  and tempt others to do the same.” Greatbatch Ltd. v. AVX Corp., 179 F. Supp. 3d 370, 379 (D.

  Del. 2016).

         WHEREFORE, Plaintiff respectfully requests that this Court grant her present Motion for

  Sanctions and issue an Order in the form attached hereto.



         Plaintiff further renews her Motion in Limine to Preclude Defendant from Introducing TR-

  005 at trial. In support thereof and in addition to the statements set forth above, Plaintiff submits

  the following:

         32.       On May 15, 2023, Plaintiff moved in limine for an Order precluding Defendant

  from introducing the 46-second arrest video (TR-005) at trial.

         33.       Plaintiff moved for exclusion of TR-005, in part, under Fed. R. Evid. 901 on the

  basis that the video cannot be properly authenticated because neither the individual who shot the

  arrest video, any individual depicted in the arrest video, or any individual who was physically

  present during the arrests would be testifying at trial.




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          34.    In opposition, Defendant asserted that TR-005 would be authenticated through

  “Starbucks’ witness testimony” – specifically, “the testimony of several witnesses at trial who

  will testify that they viewed the video and that the video accurately depicts the video that they

  saw of the arrests” and “therefore, [TR-005] is the best evidence of what occurred during the

  arrests.”

          35.    On June 2, 2023, the Court denied Plaintiff’s Motion without prejudice [Dkt. Ent.

  131]. A little more than an hour later, Defendant produced the surveillance footage to Plaintiff.

          36.    Upon reviewing the surveillance footage, it is even more apparent that no defense

  witness will be able to authenticate TR-005.

          37.    None of the 24 surveillance clips produced by Defendant depict any interaction

  between the Store Manager and the two men who were arrested or the arrests themselves. In fact,

  aside from depicting the two men walk into the store and eventually, in a separate clip, be

  walked out of the store by the police, the surveillance footage produced by Defendant does not

  depict the two men who were arrested at all.

          38.    The surveillance footage produced by Defendant contains no audio, foreclosing

  the ability of any defense witness to authenticate TR-005 by sound.

          39.    Defendant’s argument that TR-005 is the “best evidence of what occurred during

  the arrests” is rendered moot by its belated production of the surveillance footage. There is no need

  to introduce TR-005 which is incapable of being properly authenticated when the actual

  surveillance footage is now in evidence. Defendant’s surveillance footage is the “best evidence”

  of what occurred on April 12, 2018 and is more than sufficient to provide “background evidence”

  about the events leading up to Plaintiff’s termination.




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         40.     The audio of TR-005 which includes statements of customers and police officers

  depicted in the video – none of whom are testifying at trial – is hearsay and does not fall within

  any hearsay exception. The audio portions of TR-005 should be excluded under Fed. R. Evid. 801.

         41.     Defendant has produced several different versions of TR-005 to Plaintiff since it

  was initially disclosed as a trial exhibit on April 24th, including a version which includes closed

  captioning. Plaintiff does not believe that the version containing closed captioning is the version

  of the video that Defendant presently intends to utilize at trial. However, to the extent that

  Defendant does seek to introduce an iteration of TR-005 which includes closed captioning, same

  should be excluded under Fed. R. Evid. 801 because those statements of customers and police

  officers are hearsay and do not fall within any hearsay exception.

         WHEREFORE, Plaintiff respectfully requests that this Court grant her present Renewed

  Motion in Limine to Preclude Defendant from Introducing TR-005 at Trial and issue an Order in

  the form attached hereto.

                                                       Respectfully submitted,

                                                       CONSOLE MATTIACCI LAW, LLC

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  Dated: June 4, 2023                                  Attorneys for Plaintiff, Shannon Phillips




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